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IN RE:PARAQUAT PRODUCTS
LIABILITY LITIGATION                                          MDL No. 3004



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